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House Floor Amendment No. 1
Deletes reference to:
1G ILCS S/1A-16.5

Adds reference to:

10 ILCS 5/7-12 from Ch. 46, par. 7-12
1OILCS 5/25-7 from Ch. 46, par. 25-7

Replaces everything after the enacting clause. Amends the Election Code. In a provision
concerning vacancies in the office of Representative in Congress, provides that the Governor
shall issue a Writ of Election if the vacancy occurs more than 240 days (instead of 180 days)
before the next general election. Provides that the special election shall be held within 180 days
(instead of 115 days) after the issuance of the Writ of Election. Provides that petitions for
nomination shail be filed not more than 85 and not less than 82 days prior to the date of the
special primary election, except that petitions of independent candidates and candidates of new
political parties shall be filed not more than 93 and not less than 90 days prior to the date of the
special election. Effective immediately.

http://www.ilga.gov/legislation/billstatus.asp?7DocNum=1265&GAID=1 3&GA=99&DocTy... 6/3/2015

